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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     R.I., et al.,                                      Case No. 20-cv-05088-SK
                                   8                     Plaintiffs,
                                                                                            ORDER OF SUA SPONTE REFERRAL
                                   9               v.

                                  10     CHART INC.,
                                  11                     Defendant.

                                  12           Pursuant to Civil Local Rule 3-12(c), the above-entitled case is hereby REFERRED to the
Northern District of California
 United States District Court




                                  13   Honorable Jacqueline Corley for consideration of whether the case is related to In re Pacific

                                  14   Fertility Litigation, Case No. 18-cv-01586 JSC.

                                  15           IT IS SO ORDERED.

                                  16   Dated: July 29, 2020

                                  17                                                     ______________________________________
                                                                                         SALLIE KIM
                                  18                                                     United States Magistrate Judge
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